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                                                                    USDC-SDNY
UNITED STATES DISTRICT COURT
                                                                    DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
                                                                    DOC#:
 ERIC ROGERS,                                                       DATE FILED: 11-6-20

                             Plaintiff,
                                                                       20-CV-922 (RA)
                        v.
                                                                           ORDER
 S.L.P MANAGEMENT INC. and A.B.
 ILIBASSI REALTY COMPANY, L.P.,

                             Defendants.



RONNIE ABRAMS, United States District Judge:

       Plaintiff filed this action on February 3, 2020, Dkt. 1, and served Defendant S.L.P Management

Inc. on March 6, 2020, Dkt. 7. Defendant’s response to the complaint was thus due no later than March

17, 2020. Id. To date, however, Defendant has not appeared nor responded to the complaint.

       On April 29, 2020, this Court issued an order stating: “If Plaintiff intends to move for a default

judgment against Defendants, he shall do so no later than June 1, 2020 in accordance with the Court's

individual rules, and as further specified in this Order.” Dkt. 8. Plaintiff has not done so.

       Accordingly, if Plaintiff intends to move for a default judgment against Defendant, he shall do

so no later than November 20, 2020, in accordance with the Court’s individual rules

(https://nysd.uscourts.gov/sites/default/files/practice_documents/Judge%20Abrams%20-

%20Individual%20Rules%20of%20Practice%20in%20Civil%20Cases.pdf).                  Failure to do so will

result in dismissal of this action for failure to prosecute pursuant to Rule 41(b) of the Federal Rules

of Civil Procedure.
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         Further, Defendant A.B. Ilibassi Realty Company, L.P. is reminded that it must serve its cross-

claim on Defendant S.L.P Management Inc. no later than November 29, 2020. See Fed. R. Civ. P. 4(m).

SO ORDERED.

Dated:      November 6, 2020
            New York, New York

                                                  RONNIE ABRAMS
                                                  United States District Judge




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